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FLND Form 245B (rev 12/2003) Judgment in a Criminal Case
1:88cr01026-017 - CHARLES L. DAVIS


                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                             Case # 1:88cr01026-017 (SSSSS)

CHARLES L. DAVIS
                                                                 USM # 42268-018

                                                                 Defendant’s Attorney:
                                                                  LEE FUGATE (Retained)
                                                                 101 E. Kennedy Blvd, Suite 1200
                                                                 Tampa, FL 33602-1010
___________________________________

                         SECOND AMENDED JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Count 2 and 3, 7 through 11, 20 through 25, 30 through 32 of the
FIFTH Superseding Indictment on February 22, 2005. Accordingly, IT IS ORDERED that the
defendant is adjudged guilty of such count(s) which involve(s) the following offense(s):

       TITLE/SECTION                          NATURE OF                 DATE OFFENSE
          NUMBER                               OFFENSE                   CONCLUDED              COUNT

 21 U.S.C §952 and                Conspiracy to Import More than        February 3, 1987         Two
 §953                             1,000 Kilograms of Marijuana,
                                  More Than 1 Kilogram of
                                  Hashish Oil, and More Than 5
                                  Kilograms of Cocaine

 21 U.S.C §841 and 846            Conspiracy to Distribute and to       February 3, 1987         Three
                                  Possess With the Intent to
                                  Distribute More Than 1,000
                                  Kilograms of Marijuana, More
                                  Than 1 Kilogram of Hashish oil,
                                  and More Than 5 kilograms of
                                  Cocaine

 21 U.S.C § 952 and 18            Importation of More Than 50             May 5, 1985           Seven
 U.S.C. §2                        Kilograms of Marijuana

 21 U.S.C §841 and 18             Possession With the Intent to           May 5, 1985            Eight
 U.S.C §2                         Distribute More Than 50
                                  Kilograms of Marijuana

 21 U.S.C § 952 and 18            Importation of More Than 1              May 5, 1985            Nine
 U.S.C §2                         Kilograms Hashish Oil

 21 U.S.C 841 and 18              Possession With the Intent to           May 5, 1985            Ten
 U.S.C. §2                        Distribute More Than 50
                                  Kilograms of Marijuana

 18 U.S.C. §2 and                 Travel With the Intent to               May 5, 1985           Eleven
 1952(a)(3)                       Promote an Unlawful Activity
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 21 U.S.C §952 and 18             Importation of More Than 50           December 31, 1985           Twenty
 U.S.C. §2                        Kilograms of marijuana

 21 U.S.C §841 and 18             Possession With the Intent to         December 31, 1985      Twenty-One
 U..C §2                          Distribute More Than 50
                                  Kilograms of Marijuana

 21 U.S.C §2 and                  Travel With the Intent to             December 31, 1985      Twenty- Two
 1952(a)(3)                       Promote an Unlawful Activity

 21 U.S.C §952 and 18             Importation of More Than 50              May 5, 1985        Twenty-Three
 U.S.C. §2                        Kilograms of marijuana

 21 U.S.C. §841` and 18           Possession With the Intent to           April 30, 1986       Twenty-Four
 U.S.C §2                         Distribute More Than 50
                                  Kilograms

 21 U.S.C.§2 and 18               Travel With the Intent to               April 30, 1986       Twenty-Five
 U.S.C 1952(a)(3)                 Promote an Unlawful Activity

 21 U.S.C. §952 and 18            Importation of More Than 100             May 5, 1985               Thirty
 U.S.C. §2                        Kilogram marijuana

 21 U.S.C. §841 and 18            Possession With the Intent to          February 3, 1987          Thirty-One
 U.S. C. §2                       Distribute More Than 100
                                  Kilograms of Marijuana

 18 U.S.C. §2 and                 Travel With the Intent to              February 3, 1987          Thirty-Two
 1952(a)(3)                       Promote an Unlawful Activity

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
NOT imposed pursuant to the Sentencing Reform Act of 1984 or the Sentencing Guidelines
because all the offense conduct occurred before the effective date of those provisions.

The initial judgment entered on March 25, 2006.


IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.



                                                                 Date of Imposition of Sentence:
                                                                 July 9, 2008


                                                                 s/Maurice M. Paul
                                                                 MAURICE M. PAUL, SENIOR
                                                                 UNITED STATES DISTRICT JUDGE

                                                                 September 3, 2008
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                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 120 months imprisonment as to counts 2,3,7,8,9,10,20,21,23, and 24
each to run concurrently with all counts; 60 months as to counts 11, 22,25,30,31, 32 each to
run concurrently with all counts.

          The defendant remanded to the custody of the United States Marshal.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                        UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
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                                              SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall serve a 3 year special parole term
as to counts 7, 8, 9, 10, 20, 21, 23, and 24, said term to be served concurrently; and 4 years
supervised release as to each of counts 30 and 31, said terms to be served concurrently.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

      The defendant shall not possess a firearm, destructive device, or any other dangerous
weapon.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.        the defendant shall not leave the judicial district without the permission of the court or probation
          officer;

2.        the defendant shall report to the probation officer and shall submit a truthful and complete written
          report within the first five days of each month;

3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
          of the probation officer;

4.        the defendant shall support his or her dependents and meet other family responsibilities;

5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        the defendant shall notify the probation officer at least 10 days prior to any change in residence or
          employment;

7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
          distribute, or administer any controlled substance or any paraphernalia related to any controlled
          substances, except as prescribed by a physician;
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8.        the defendant shall not frequent places where controlled substances are illegally sold, used,
          distributed, or administered;

9.        the defendant shall not associate with any persons engaged in criminal activity and shall not associate
          with any person convicted of a felony unless granted permission to do so by the probation officer;

10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
          shall permit confiscation of any contraband observed in plain view of the probation officer;

11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
          law enforcement officer;

12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
          the probation officer to make such notifications and to confirm the defendant’s compliance with such
          notification requirement.

14.       if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
          the Criminal Monetary Penalties sheet of this judgment.

15.       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
          weapon.

16.       The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

          The defendant shall also comply with the following additional conditions of supervised
          release:

          As deemed necessary by the Probation Officer, the defendant shall participate in a program
          of mental health treatment.

          The defendant shall not own or possess a firearm, dangerous weapon or destructive device.

          The defendant shall remain gainfully employed or actively seek employment while under
          supervision.

          The defendant shall submit all requested financial documentation to the probation officer.

          The defendant shall participate in a program of mental health counseling. The
          administrative supervision of such treatment shall be as directed by your probation officer.
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       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




          Defendant                                                       Date




          U.S. Probation Officer/Designated Witness                       Date
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                                     CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
in the Schedule of Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                     Restitution
                $800.00                                    $15,000.00                     NONE




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $800.00 is imposed.

                                                             FINE

A fine in the amount of $15,000.00 is imposed.


The Court has determined that the defendant does not have the ability to pay interest. It is
ORDERED that: No restitution imposed.

                                                            FORFEITURE

          The defendant shall forfeiture his interest in a sail boat “Blue Sky”
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                                           SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7) penalties
in full immediately

in installments to commence 90 day(s) after release from imprisonment. In the event the entire
amount of criminal monetary penalties imposed is not paid prior to the commencement of
supervision the U.S. probation office shall pursue collection of the amount due, and shall request
the court to establish a payment schedule if appropriate; or

Payment during the term of supervised release will commence within 90 days after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s
ability to pay at that time.

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a
change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to the
commencement of supervision, the U.S. probation officer shall pursue collection of the amount due.
The defendant will receive credit for all payments previously made toward any criminal monetary
penalties imposed.
        The defendant shall forfeit the defendant’s interest in the following property to the United
States:
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                                       DENIAL OF FEDERAL BENEFITS

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862(a)

                    IT IS ORDERED that the defendant shall be:

                    ineligible for all federal benefits for a period of Enter Period of Ineligibility.


        Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any
retirement, welfare, Social Security, health, disability, veterans benefit, public housing, or other
similar benefit, or any other benefit for which payments or services are required for eligibility.


The Clerk of Court is responsible for sending a copy of this page and the first page of this
Judgment to the U.S. Department of Justice at the following address:

                                        Denial of Federal Benefits Program
                                        U.S. Department of Justice
                                        Bureau of Justice Assistance
                                        810 Seventh Street, N.W.,

                                        Washington DC 20531

                                       DENIAL OF FEDERAL BENEFITS

                FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

          IT IS ORDERED that the defendant shall be:

                    ineligible for all federal benefits for a period of Enter Period of Ineligibility.


        Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any
retirement, welfare, Social Security, health, disability, veterans benefit, public housing, or other
similar benefit, or any other benefit for which payments or services are required for eligibility.


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                                        Denial of Federal Benefits Program
                                        U.S. Department of Justice
                                        Bureau of Justice Assistance
                                        810 Seventh Street, N.W.,
                                        Washington DC 20531
